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                                 2024-1038

     _________________________________________________________


                United States Court of Appeals

                    for the Federal Circuit
     _________________________________________________________

           In re: GESTURE TECHNOLOGY PARTNERS, LLC,
                             Appellant,


         Appeal from the United States Patent and Trademark Office in
               Ex parte Reexamination Control No. 90/014,903

                    REPLY BRIEF OF APPELLANT
                GESTURE TECHNOLOGY PARTNERS, LLC


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July 18, 2024

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                           PATENT CLAIMS AT ISSUE

      Claims 8-18 of U.S. Patent No. 8,878,949 are the patent claims at issue.

8.    A computer implemented method comprising:

      providing a portable device including a forward facing portion encompassing
            a digital camera and an electro-optical sensor, the electro-optical sensor
            having an output and defining a field of view;

      determining, using a processing unit, a gesture has been performed in the
            electro-optical sensor field of view based on the electro-optical sensor
            output, wherein the determined gesture corresponds to an image capture
            command; and

      capturing an image to the digital camera in response to the determined gesture
            corresponding to the image capture command.

9.    The method according to claim 8 wherein the determined gesture includes a
      hand motion.

10.   The method according to claim 8 wherein the determined gesture includes a
      pose.

11.   The method according to claim 8 wherein the electro-optical sensor includes
      first and second sensors in fixed relation relative to the digital camera.

12.   The method according to claim 8 wherein the electro-optical sensor defines a
      resolution less than a resolution defined by the digital camera.

13.   An image capture device comprising:

      a device housing including a forward facing portion, the forwarding facing
            portion encompassing a digital camera adapted to capture an image and
            having a field of view and encompassing a sensor adapted to detect a
            gesture in the digital camera field of view; and

      a processing unit operatively coupled to the sensor and to the digital camera,
            wherein the processing unit is adapted to:
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            detect a gesture has been performed in the electro-optical sensor field
                   of view based on an output of the electro-optical sensor, and

            correlate the gesture detected by the sensor with an image capture
                   function and subsequently capture an image using the digital
                   camera, wherein the detected gesture is identified by the
                   processing unit apart from a plurality of gestures.

14.   The image capture device of claim 13 wherein the detected gesture includes a
      hand motion.

15.   The image capture device of claim 13 wherein the detected gesture includes a
      pose.

16.   The image capture device of claim 13 further including a forward facing light
      source.

17.   The image capture device of claim 13 wherein the sensor defines a resolution
      less than a resolution defined by the digital camera.

18.   The image capture device of claim 13 wherein the sensor is fixed in relation
      to the digital camera.
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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2024-1038
   Short Case Caption In re: Gesture Technology Partners, LLC
   Filing Party/Entity Gesture Technology Partners, LLC



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        07/18/2024
  Date: _________________                   Signature:    /s/ Fred I. Williams

                                            Name:         Fred I. Williams
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FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                       None/Not Applicable             None/Not Applicable
Gesture Technology Partners,
LLC




                                        Additional pages attached
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FORM 9. Certificate of Interest                                                Form 9 (p. 3)
                                                                                March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 "        None/Not Applicable              "     Additional pages attached
Mark McCarthy of Williams
Simons & Landis PLLC




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 " Yes (file separate notice; see below) " No          " N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 "        None/Not Applicable              "     Additional pages attached
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I.    STATEMENT OF RELATED CASES

      Pursuant to Federal Circuit Rule 47.5, Appellant Gesture Technology

Partners, LLC (“GTP”) states that no other appeal in or from the same proceeding

in the originating tribunal was previously before this or any other appellate court.

      Cases pending in this or any other court which will directly affect or be

directly affected by this Court’s decision in the pending appeal are listed below.

         • Apple Inc., v. Gesture Technology Partners, LLC, 2023-1501 (Court of
           Appeals for the Federal Circuit)

         • Gesture Technology Partners, LLC v. Apple Inc., 4:22-cv-04806-YGR
           (U.S. District Court for the Northern District of California)

         • Gesture Technology Partners, LLC v. Motorola Mobility LLC, 1:22-cv-
           03535 (U.S. District Court for the Northern District of Illinois)

         • Gesture Technology Partners, LLC v. LG Electronics Inc. et al., 2:21-
           cv-19234-EP-MAH (U.S. District Court for the District of New Jersey)

II.   SUMMARY OF THE ARGUMENT

      Like the Board, Appellee fails to articulate why it would have been obvious

for both of Sears’ cameras to be encompassed by the same single portion of Sears’

common housing, as independent claim 13 requires, when Sears is completely silent

regarding the shape or geometry of its common housing. Appellee also fails to

adequately explain why the single portion of Sears’ common housing would be

forward-facing, as independent claim 13 requires, when Sears’ cameras are

downward-facing and a POSITA would not understand “forward” to include



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“downward.”      Accordingly, the Board’s decision affirming the Examiner’s

obviousness rejections should be vacated or reversed.

      Further, to support the Board’s improper finding that Sears is analogous art,

Appellee limits Sears’ field of endeavor to a specific feature of an electronic reading

machine, even though the caselaw prohibits doing exactly that. Appellee also fails

to adequately explain why a POSITA would consider Sears when the problems being

addressed by Sears (i.e., problems with reading machines such as wait times to read

a page, the need for multiple passes through the scanner, and the difficulty of

operating manually-guided mechanical systems for tracking lines of text) are not

similar to the problem being addressed by the ’949 Patent. Accordingly, Sears is

non-analogous art and the Board’s decision affirming the Examiner’s obviousness

rejections should be vacated or reversed.

      Lastly, with respect to the USPTO lacking jurisdiction over expired patents,

Appellee does not evaluate the reexamination statutes in view of the Supreme

Court’s Oil States decision and relies on case law that predates Oil States or that

does not challenge the USPTO’s jurisdiction over expired patents. The USPTO does

not have jurisdiction over expired patents and the Board’s decision should be

vacated.




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III.   ARGUMENT

       A.    The Board Erred In Determining That Sears Renders Obvious
             Independent Claim 13.

             1.     Sears is non-analogous art.

       Appellant maintains that Sears’ proper field of endeavor is electronic reading

machines and that the Board erred in finding Sears’ field of endeavor to be

“navigating a document through specifying commands using gestures captured by a

camera.” Reply Br., p. 19 (citing Appx0012 (Decision, p. 11)).

       In support of the Board’s position, Appellee argues that “[w]hile there is no

dispute that Sears discloses a reading machine, Sears’s field is not limited to that

particular focus.” Reply Brief, p. 20. But in the very same paragraph, Appellee also

argues that “Sears is directed not just to a reading machine, but to a reading machine

that images text via a two-camera system controlled by gesture-based commands.”

Id. (emphasis added). Thus, Appellee concedes that Sears is directed to electronic

reading machines, and that “navigating a document through specifying commands

using gestures captured by a camera” is a specific feature of Sears’ electronic reading

machines.

       In the very caselaw cited by Appellee, this Court explained that “[t]he field of

endeavor of a patent is not limited to the specific point of novelty, the narrowest

possible conception of the field, or the particular focus within a given field.”

Unwired Planet, LLC v. Google Inc., 841 F.3d 995, 1001 (Fed. Cir. 2016). But that


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is exactly what Appellee is attempting here: to limit Sears’ field of endeavor to a

specific feature (i.e., “navigating a document through specifying commands using

gestures captured by a camera”), instead of the broader and more accurate field of

electronic reading machines. That is improper.

      As discussed in Appellant’s Opening Brief, electronic reading machines do

not belong to the field of endeavor of the ’949 Patent, and thus Sears fails the first

test for analogous art. See Opening Br., pp. 28-29.

      Regarding the second test for analogous art, although the Board found that the

’949 Patent addresses the particular problem of specifying commands using gestures

(Appx0014), Appellant argued that the Board’s finding was “far too generic a

problem statement” and asserted that the ’949 Patent “addresses the particular

problem of taking pictures with a digital camera when certain gestures are

recognized using a separate sensor.” Opening Br., p. 31. It is telling that Appellee

provided no direct rebuttal to that argument. See Response Br., pp. 21-22.

      Instead, Appellee’s Response Brief argues that Sears passes the second test

for analogous art because “the Board found that Sears is directed to the problem of

gesture-based navigation,” Response Br., p. 21 (citing Appx0014) (emphasis added),

and because “Sears is directed to taking pictures with a camera (for OCR and voice

output) based on a separate camera/sensor detecting a user’s hand gesture.”




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Response Br., p. 22 (citing Appx0011-12; Appx0020). But those arguments are

problematic.

      As a threshold matter, the Board did not actually find that “Sears is directed

to the problem of gesture-based navigation.” Instead, the Board found that “Sears is

directed to gesture-based navigation.” Appx0014 (Decision, p. 13).

      More importantly, even if Sears discloses “gesture-based navigation” and

even if Sears discloses “taking pictures with a camera (for OCR and voice output)

based on a separate camera/sensor detecting a user’s hand gesture,” Sears does not

make those disclosures in a vacuum; but rather in the context of solving problems

associated with existing electronic reading machines such as wait times to read a

page, the need for multiple passes through the scanner, and the difficulty of operating

manually-guided mechanical systems for tracking lines of text. See Appx0398-0399

(Sears, 1:66-3:15). Because the problems being solved by Sears do not relate to the

problem being solved by the ’949 Patent, a POSITA would not have consulted Sears,

and thus Sears fails the second test for non-analogous art.

      Because Sears fails both tests for analogous art, it is non-analogous art and

cannot be cited in any obviousness rejections.            Accordingly, the Board’s

determination that Sears renders obvious independent claim 13 (or any claim of the

’949 Patent) should be vacated or reversed.




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             2.    Sears fails to teach or suggest claim element 13[a].

      As demonstrated in Appellant’s Opening Brief, claim element 13[a] requires

that (a) a single portion of the “device housing” encompass both a “digital camera”

and a “sensor,” and that (b) the single portion be “forward facing.” See Opening Br.,

p. 12. Appellant also argued that a POSITA would not consider forward facing and

downward facing to be coextensive. See id., p. 20.

      In its Response Brief, Appellee is unable to articulate how the configuration

shown in Sears’ Figure 3 necessarily means that it would have been obvious for

Sears’ “camera 87” and “camera 89” (the Board-identified “sensor” and “digital

camera,” respectively) to be encompassed by the same single portion of Sears’

“common housing” (the Board-identified “device housing”), as claim 13 requires.

See Response Br., pp. 25-26. Again, the shape or geometry of Sears’ “common

housing” is not disclosed. Accordingly, Sears’ “common housing” may have

multiple portions, including multiple forward-facing portions and multiple

downward-facing portions, with Sears’ “camera 87” (the Board-identified “sensor”)

and Sears’ “camera 89” (the Board-identified “digital camera”) each being located

on a different portion. That would contradict what claim 13 requires.

      In support of the Board’s position, Appellee also argues that, in Sears’ Figure

3 “the cameras sit next to each other facing the same direction on a common

platform.” Response Br., p. 26. But the “cameras” will not be sitting on Sears’



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“platform 85” when they are within Sears’ “common housing.” And even if Sears’

cameras “sit next to each other” in Figure 3, that still does not necessarily mean that

Sears’ cameras will be encompassed by the same portion of Sears’ “common

housing.” Again, the shape or geometry of Sears’ “common housing” is not

disclosed. Accordingly, Sears’ two cameras may be located on two different

portions of Sears’ “common housing” that are sufficiently close to each other for

Sears’ two cameras to still be considered “next to each other.” But that configuration

would still contradict what claim 13 requires.

      Further, even if Sears’ two cameras (the Board-identified “sensor” and

“digital camera”) were located on the same portion of Sears’s “common housing”

(the Board-identified “device housing”), based on the configuration shown in Figure

3, that portion would be a downward-facing portion, not a forward-facing portion as

claim 13 requires. But according to Appellee, “the patent’s embodiments do not

limit claim 13 to horizonal-facing setups by implication, as [Appellant] asserts (Br.

at 21), just by disclosing only horizonal-facing setups.” Response Br., pp. 23-24

(citing Thorner v. Sony Computer Entm’t Am. LLC, 669 F.3d 1362 (Fed. Cir. 2012)).

Appellee misapplies Thorner, where this Court determined that the “plain meaning

of the term ‘attached’ encompasses either an external or internal attachment,” and

then determined that patentee did not “redefine this term to mean only attachment to

an external surface.” Thorner, 669 F.3d at 1367. In the present case, however, a


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POSITA would not understand “forward” to include “downward” after reading the

entire ’949 Patent.     See Appx0617-0621 (Occhiogrosso Decl., ¶¶ 47-52).

Accordingly, the plain and ordinary meaning of “forward” already excludes

“downward:” “Properly viewed, the ‘ordinary meaning’ of a claim term is its

meaning to the ordinary artisan after reading the entire patent.” Phillips v. AWH

Corp., 415 F.3d 1303, 1321 (Fed. Cir. 2005) (en banc) (emphasis added). Thus,

Thorner is inapposite to the present case because there is no assertion that the

patentee has redefined “forward” beyond its plain and ordinary meaning.

      Further, as discussed in Appellant’s Opening Brief, the Board stated that “it

would have been obvious to modify Sears to this restrictive forward facing (i.e.,

horizontal direction) direction of reading the text because it is very well-known to

read notices posted for reading in such a forward-facing direction (e.g., a sign or

notice posted on a business’ door or window).” Appellant’s Opening Br., p. 21

(quoting Appx0016 (Decision, p. 15)) (emphasis added). In support of the Board’s

position, Appellee argues that “Sears discloses the exact modification proposed: a

two-camera embodiment in which the reading device is worn by a user as glasses

with cameras that faces horizontally on an upright person.” Response Br., p. 25

(citing Appx0395 (Sears, Fig. 4)) (emphasis added). But in Sears’ Figure 4, the

eyeglass frame has two earpieces and each camera is located on a different earpiece

(i.e., located on different portions of the eyeglass frame). See Appx0408 (Sears,


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21:9-21). Accordingly, the supposed “exact modification” still does not meet the

requirements of claim 13 because Sears’ two cameras (the Board-identified “sensor”

and “digital camera”) are not located on the same single portion of Sears’ “eyeglass

frame” (the Appellee-identified “device housing”).

      For the aforementioned reasons, the Board’s findings that Sears teaches or

suggests claim element 13[a] are not supported by substantial evidence.

Accordingly, the Board’s determination that Sears renders obvious independent

claim 13 should be vacated or reversed.

            3.     Sears fails to teach or suggest claim element 13[b].

      Appellee’s Response Brief conveniently sidesteps the issues concerning 35

U.S.C. § 112, ¶6. See Response Brief, p. 27. In the Final Office Action, the

Examiner contended that the “processing unit” term in claim element 13[b] invokes

35 U.S.C. § 112, ¶6, and the Examiner identified the corresponding structure in the

specification of the ’949 Patent. See Appx0640-0642 (Final OA, pp. 3-5). In both

its Appeal Brief under 37 C.F.R. § 41.37 and the Reply Brief under 37 C.F.R.

§ 41.41, Patent Owner argued that the “processing unit” term does not invoke 35

U.S.C. § 112, ¶6, but if it does, then the Examiner still failed to demonstrate that

Sears teaches the corresponding structure or an equivalent. See Appx0673-0675

(Appeal Br., pp. 5-7), Appx0686-0688 (Appeal Br., pp. 18-20), Appx0726-0728

(Reply Br., pp. 1-3), Appx0734-0736 (Reply Br., pp. 9-11).



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      In its Decision, the Board did not expressly reverse the Examiner’s claim

construction. Appx0007 (Decision, p. 6 n.5). To the contrary, the Board stated “we

adopt as our own (1) the findings and reasons set forth by the Examiner in the action

from which this appeal is taken and (2) the reasons set forth by the Examiner in the

Examiner’s Answer in response to Appellant’s Appeal Brief.” Appx007 (Decision,

p. 6). Accordingly, the Board agrees that the “processing unit” term invokes § 112,

¶6.

      But as shown in Appellant’s Opening Brief, the Board erred by not showing

that Sears teaches the corresponding structure (i.e., a computer executing software

that will send a signal to the camera control module to hold the last frame, store it in

memory, or transmit it), and by not identifying or evaluating the proper test for

determining equivalence under 35 U.S.C. § 112, ¶6. See Opening Br., p. 22-24.

Accordingly, the Board’s findings that Sears teaches or suggests claim element 13[b]

are not supported by substantial evidence, and the Board’s determination that Sears

renders obvious independent claim 13 should be vacated or reversed.

      B.     The Board Erred In Determining That Sears Renders Obvious
             Dependent Claim 15.

      In its Opening Brief, Appellant argued that “a pose is a non-limiting example

of a gesture.” Opening Br., p. 34. Appellee acknowledges that definition and does

not dispute it. See Response Br., pp. 31-32. Appellant also demonstrated that the

term “pose” is disclosed multiple times in the specification of the ’949 Patent, and


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in each instance the term refers to a gesture involving a body part other than a hand

or in addition to a hand, but never just a hand. See Opening Br., pp. 32-33. Appellee

also does not refute that showing. See Response Br., pp. 29-32.

      Instead, Appellee argues that a pose can involve just a hand because the ’949

Patent provides examples “in which a hand is the sole body part used as a command.”

Response Br., p. 31. But the ’949 Patent never refers to any of those examples as a

“pose.” Those disclosed scenarios involving just a hand are alternative examples of

a gesture. Appellee even concedes that “a gesture is the position or motion of parts

of the body, such as the hands.” Response Br., p. 30 (emphasis added). Because the

’949 Patent repeatedly, consistently, and exclusively discloses a “pose” as a gesture

involving at least one body part other than a hand (e.g., lips, eyes), that is how a

POSITA would understand the term “pose,” and thus that is the ordinary meaning

of the term “pose.”

      As discussed in the Opening Brief, Sears cannot capture gestures involving at

least one body part other than or in addition to a hand because its “reading machine”

is designed to read “printed material 33” placed directly below “platform 85.”

Appellant’s Opening Br., p. 33 (citing Appx0394 (Sears, Fig. 3)). There is simply

no clearance for “a pose” (i.e., body parts other than or in addition to a hand) between

“platform 85” and the “printed material 33.” Id. Accordingly, Sears does not render

claim 15 obvious.



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      Additionally, to meet the requirements of claim 15, Appellee expressly

references Sears’ “use of a closed fist or a flat hand.” Response Br., p. 29. While a

“closed fist” may be an example of a gesture, it cannot be the claimed “pose” because

it does not involve a body part other than or in addition to a hand. The same is true

for “a flat hand.” Accordingly, Sears does not teach claim 15.

      For the aforementioned reasons, the Board’s determination that Sears renders

obvious dependent claim 15 should be vacated or reversed.

      C.     The Board Erred In Determining That Sears Renders Obvious
             Dependent Claim 18.

      As noted by Appellee, Appellant “argues that the Board did not articulate a

reason why it would have been obvious to fix the location of the cameras in Figure

3’s reading machine. But Sears expressly discloses placing cameras in a fixed

position in a related embodiment [Figure 4], and thus fixing the cameras’ location

on the platform of the reading machine in Figure 3 would have been obvious.”

Response Br., p. 32 (citations omitted). Again, like the Board, Appellee fails to

provide a sufficient rationale to combine the teachings of Sears’ different

embodiments.     In other words, both the Board and Appellee fail to explain

sufficiently why one skilled in the art would have found it obvious to combine those

teachings in Sears. That is improper. See In re Stepan Co., 868 F.3d 1342, 1346 n.1

(Fed. Cir. 2017) (“Whether a rejection is based on combining disclosures from

multiple references [or] combining multiple embodiments from a single reference .


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. . there must be a motivation to make the combination and a reasonable expectation

that such a combination would be successful, otherwise a skilled artisan would not

arrive at the claimed combination.”) (emphasis added).

      Further, Appellee argues that “fixing the cameras’ location on the platform of

the reading machine in Figure 3 would have been obvious.” Response Br., p. 32

(emphasis added). But even if that were true—and Appellant does not concede that

it is—it still does not meet the requirements of claim 18. Claim 18, by virtue of its

dependency from independent claim 13, requires that the claimed “camera . . . [and]

sensor” be encompassed by a “forward facing portion” of the claimed “device

housing.” Compare Appx0047 (16:24-28) with Appx0047 (16:49-50). And the

Board/Examiner mapped Sears’ “common housing” to the claimed “device

housing.” See Appx0644-0645 (Final OA, pp. 7-8) (citing Appx0406 (Sears, 18:15-

18)). Accordingly, Appellee would need to show that fixing the locations of Sears’

“camera 87” and “camera 89” (the Board-identified “sensor” and “camera”) on the

same “forward facing portion” of Sears’ “common housing” (the Board-identified

“device housing”) would have been obvious. But that is not what Appellee argued.

      Further still, Appellee also references a sub-embodiment of Sears’ Figure 3

where “camera 87” and “camera 89” are allegedly fixed in location while one or

more mirrors are rotated. See Response Br., p. 33 (citing Appx0406 (Sears, 17:40-

43)). But Sears fails to teach or suggest the positioning of the “rotat[ing] one or



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mirrors” and “camera 89” (the Board/Examiner-identified “digital camera”) with

respect to the “common housing” (the Board/Examiner-identified “device

housing”). There is no drawing or description in Sears of the “common housing”

with the “one or more mirrors,” “camera 87,” and “camera 89.” Thus, Sears still

fails to teach or suggest that both “camera 87” and “camera 89” (the

Board/Examiner-identified “sensor” and “digital camera,” respectively) are

encompassed by the same single portion of the “common housing” (the

Board/Examiner identified “device housing”) when the “one or more mirrors” are

present. That contradicts what claim 18 requires by virtue of its dependency from

claim 13.

      More importantly, the presence of “one or more mirrors” only reinforces that

“camera 87” and “camera 89” (the Board/Examiner-identified “sensor” and “digital

camera,” respectively) are not necessarily encompassed by the same single portion

of the “common housing” (the Examiner-identified “device housing”), as claim 18

requires. By way of their reflective properties, “the one or more mirrors” enable

“camera 89” (the Board/Examiner-identified “digital camera”) to be located on a

different portion of the “common housing” (the Examiner-identified “device

housing”) than “camera 87” (the Board/Examiner-identified “sensor”), but still

capture images from the printed material. Accordingly, there is no need for “camera

87” and “camera 89” to be encompassed by the same single portion of the “common



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housing” (the Examiner-identified “device housing”) when the “one or more

mirrors” are present.

      For the aforementioned reasons, the Board’s determination that Sears renders

obvious dependent claim 18 should be vacated or reversed.

      D.     The Board Erred By Not Vacating The Reexam Order Because No
             Substantial New Question (SNQ) Of Patentability Exists

      In its Response, Appellee argues that “the Board found that Sears discloses”

a “forward-facing portion of a device housing encompassing cameras” and thus a

SNQ of patentability exists. Response Br., pp. 33-34 (emphasis added). Appellant

disagrees. As discussed above, Sears fails to disclose a single portion of a device

housing, much less a single forward-facing portion of a device housing,

encompassing multiple cameras. Accordingly, no SNQ of patentability exists and

the order for ex parte reexamination of the ’949 Patent should be vacated.

      E.     The USPTO Does Not Have Jurisdiction Over the Expired ’949
             Patent.

      Appellee’s Response argues that “the reexamination statute permits any

person to file a request for reexamination ‘at any time,’ not just before patent

expiration.” Response Br., p. 36 (citing 35 U.S.C. § 302; 37 C.F.R. § 1.510(a)). The

fact that Sections 301 and 1.510(a) do not address expired patents does not change

the fact that when a patent expires, the public franchise ceases to exist and the

franchisee no longer has the right to exclude others. See Oil States Energy Servs.,



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LLC v. Greene’s Energy Grp., LLC, 138 S. Ct. 1365, 1373 (2018). Because the

public franchise no longer exists, the Patent Office has nothing in its authority to

cancel an expired patent.

      Appellee also asserts that Appellant “cites nothing from Oil States in support

of [the] proposition” that “patent expiration extinguishes the public franchise,

removing a patent from the USPTO’s jurisdiction and placing it solely within the

jurisdiction of Article III courts for claims of past damages.” Response Br., p. 35.

But that assertion is false. As discussed in Appellant’s Opening Brief, the Supreme

Court in Oil States explained that “Congress [has] significant latitude to assign [the]

adjudication of public rights to entities other than Article III courts,” such as the

USPTO. Opening Br., p. 41 (quoting Oil States, 138 S. Ct. at 1373). As a corollary,

because an expired patent is no longer an existing public right/franchise, any

remaining rights associated with the expired patent are not something that Congress

can assign to the USPTO for adjudication. Instead, the remaining rights associated

with the expired patent must be adjudicated by the Article III courts. Even before

Oil States, this Court recognized the importance of protecting Article III jurisdiction

of patent rights:

      It is essential, therefore, to clarify the line between public and private
      rights. Under current Supreme Court precedent, that line remains hazy,
      in particular in connection with patent rights. Yet, as the administrative
      state expands and non-Article III tribunals adjudicate more disputes
      under the cover of the public rights doctrine, there must be vigilance in
      protecting Article III jurisdiction. Each new tribunal outside of Article

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      III should be greeted with skepticism. Rigorously defending Article
      III’s protections is among our most important duties, for there exists no
      other voice to guard against legislative and executive excess.

Cascades Projection LLC v. Epson Am., Inc., 864 F.3d 1309, 1325 (Fed. Cir. 2017)

(Reyna, J., dissenting from the denial of initial hearing en banc).

      In its Response Brief, Appellee also identifies several cases where this Court

reviewed the Board’s decision even though the patent had expired prior to the Board

issuing its decision. See Response Br., p. 36 (citing In re Rambus, Inc., 753 F.3d

1253 (Fed. Cir. 2014); Sony Corp. v. Iancu, 924 F.3d 1235 (Fed. Cir. 2019)). But

those cases are inapposite because the USPTO’s jurisdiction over expired patents

was never raised, and In re Rambus predates Oil States. Petitioner’s citation to

footnote 1 of Sony Corp. v. Iancu by Judge Dyk might be relevant if these parties

were arguing whether there is a live case or controversy to satisfy Article III

standing, but the instant issue is whether the USPTO has jurisdiction over an expired

patent in an ex parte reexamination.

      At bottom, the Board does not have jurisdiction over the ’949 Patent because

it expired before the request for reexamination was filed. Thus, the order granting

ex parte reexamination of the ’949 Patent should be vacated.

IV.   CONCLUSION AND RELIEF SOUGHT

      For the foregoing reasons and all the reasons discussed in Appellant’s

Opening Brief, Appellant respectfully requests that the Court (1) vacate or reverse



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the Board’s determinations that claims 8-18 are rendered obvious by the cited art,

(2) vacate the order granting ex parte reexamination of the ’949 Patent, and (3)

vacate the Board’s Decision because the USPTO does not have jurisdiction over

expired patents.




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                               CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court of the United States Court of Appeals for the Federal Circuit by using the

appellate CM/ECF system on July 18, 2024.

            I certify that all participants in the case are registered CM/ECF users

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      Dated:       July 18, 2024                           /s/ Fred I. Williams
                                                           Fred I. Williams
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                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

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          Case Number: 2024-1038

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